Case 4:22-cr-00397 Document 38 Filed on 05/11/23 in TXSD Page 1 of 17

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
§

Vv. § CRIMINAL NO. 4:22-CR-397

§
CHRISTIN DANIELLE §
BRINKLEY, §
Defendant. §

PLEA AGREEMENT

The United States of America, by and through Alamdar S. Hamdani, United
States Attorney for the Southern District of Texas, and the undersigned Assistant
United States Attorneys, and the defendant, Christin Danielle Brinkley
(“Defendant”), and Defendant’s counsel, pursuant to Rule 11(c)(1)(B) of the Federal
Rules of Criminal Procedure, state that they have entered into an agreement, the
terms and conditions of which are as follows:

Defendant’s Agreement

1. Defendant agrees to plead guilty to Count One of the Indictment. Count
One charges the defendant with Damaging Property Occupied by a Foreign
Government, in violation of Title 18, United States Code §§ 970(a) and 2.
Defendant, by entering this plea, agrees that she is waiving any right to have the
facts that the law makes essential to the punishment either charged in the indictment,

or proved to a jury or proven beyond a reasonable doubt.
Case 4:22-cr-00397 Document 38 Filed on 05/11/23 in TXSD Page 2 of 17

Punishment Range

2. The statutory maximum penalty for a violation of the Title 18, United
States Code § 970(a) is up to five years’ imprisonment and a fine of not more than
$250,000.00. Additionally, Defendant may receive a term of supervised release
after imprisonment of up to three years. See Title 18, United States Code, sections
3559(a)(4) and 3583(b)(2). Defendant acknowledges and understands that if she
should violate the conditions of any period of supervised release which may be
imposed as part of her sentence, then Defendant may be imprisoned for up to two
years, without credit for time already served on the term of supervised release prior
to such violation. See Title 18, United Stated Code, sections 3559(a)(4) and
3583(e)(3). Defendant understands that she cannot have the imposition or
execution of the sentence suspended, nor is she eligible for parole.

Mandatory Special Assessment

3. Pursuant to Title 18, United States Code, section 3013(a)(2)(A),
immediately after sentencing, Defendant will pay to the Clerk of the United States
District Court a special assessment in the amount of one hundred dollars ($100.00)
per count of conviction. The payment will be by cashier’s check or money order,
payable to the Clerk of the United States District Court, c/o District Clerk’s Office,

P.O. Box 61010, Houston, Texas 77208, Attention: Finance.
Case 4:22-cr-00397 Document 38 Filed on 05/11/23 in TXSD Page 3 of 17

Immigration Consequences

4. Defendant recognizes that pleading guilty may have consequences with
respect to her immigration status. Defendant understands that if she is not a citizen
of the United States, by pleading guilty she may be removed from the United States,
denied citizenship, and denied admission to the United States in the future.
Defendant understands that if she is a naturalized United States citizen, pleading
guilty may result in immigration consequences, such as denaturalization and
potential deportation or removal from the United States. Defendant’s attorney has
advised Defendant of the potential immigration consequences resulting from
Defendant’s plea of guilty, and Defendant affirms that she wants to plead guilty
regardless of any immigration consequences that may result from the guilty plea and
conviction.

Waiver of Appeal and Collateral Review

5. Defendant is aware that Title 28, United States Code, section 1291, and
Title 18, United States Code, section 3742, afford a defendant the right to appeal the
conviction and sentence imposed. Defendant is also aware that Title 28, United
States Code, section 2255, affords the right to contest or “collaterally attack” a
conviction or sentence after the judgment of conviction and sentence has become

final. Defendant knowingly and voluntarily waives the right to appeal or
Case 4:22-cr-00397 Document 38 Filed on 05/11/23 in TXSD Page 4 of 17

“collaterally attack” the conviction and sentence, except that Defendant does not
waive the right to raise a claim of ineffective assistance of counsel on direct appeal,
if otherwise permitted, or on collateral review in a motion under Title 28, United
States Code, section 2255. In the event Defendant files a notice of appeal following
the imposition of the sentence or later collaterally attacks her conviction or sentence,
the United States will assert its rights under this agreement and seek specific
performance of these waivers.

6. In agreeing to these waivers, Defendant is aware that a sentence has not
yet been determined by the Court. Defendant is also aware that any estimate of the
possible sentencing range under the sentencing guidelines that she may have
received from her counsel, the United States or the Probation Office, is a prediction
and not a promise, did not induce her guilty plea, and is not binding on the United
States, the Probation Office or the Court. The United States does not make any
promise or representation concerning what sentence the defendant will receive.
Defendant further understands and agrees that the United States Sentencing
Guidelines are “effectively advisory” to the Court. See United States v. Booker,
543 U.S. 220 (2005). Accordingly, Defendant understands that, although the Court

must consult the Sentencing Guidelines and must take them into account when
Case 4:22-cr-00397 Document 38 Filed on 05/11/23 in TXSD Page 5 of 17

sentencing Defendant, the Court is not bound to follow the Sentencing Guidelines
nor sentence Defendant within the calculated guideline range.

7. Defendant understands and agrees that each and all waivers contained in
the Agreement are made in exchange for the concessions made by the United States
in this plea agreement.

The United States’ Agreements

8. The United States agrees to each of the following:

(a) If the Court determines that Defendant qualifies for an

adjustment under section 3E1.1(a) of the United States Sentencing

Guidelines, and the offense level prior to operation of section 3E1.1(a)

is 16 or greater, the United States will move under section 3E1.1(b) for

an additional one-level reduction because Defendant timely notified

authorities of her intent to plead guilty, thereby permitting the United

States to avoid preparing for trial and permitting the United States and

the Court to allocate their resources more efficiently.

Agreement Binding - Southern District of Texas Only

9. The United States Attorney’s Office for the Southern District of Texas
agrees that it will not further criminally prosecute Defendant in the Southern District
of Texas for offenses arising from conduct charged in the indictment. This plea
agreement binds only the United States Attorney’s Office for the Southern District

of Texas and Defendant. It does not bind any other United States Attorney’s Office.

The United States Attorney’s Office for the Southern District of Texas will bring
Case 4:22-cr-00397 Document 38 Filed on 05/11/23 in TXSD Page 6 of 17

this plea agreement and the full extent of Defendant’s cooperation to the attention of
other prosecuting offices, if requested.
United States’ Non-Waiver of Appeal
10. The United States reserves the right to carry out its responsibilities under
guidelines sentencing. Specifically, the United States reserves the right:
(a) to bring its version of the facts of this case, including its evidence
file and any investigative files, to the attention of the Probation Office

in connection with that office’s preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts material to
sentencing;

(c) to seek resolution of such factors or facts in conference with
Defendant’s counsel and the Probation Office;

(d) to file a pleading relating to these issues, in accordance with
section 6A1.2 of the United States Sentencing Guidelines and Title 18,
United States Code, section 3553(a); and

(e) to appeal the sentence imposed or the manner in which it was
determined.

Sentence Determination
11. Defendant is aware that the sentence will be imposed after consideration
of the United States Sentencing Guidelines and Policy Statements, which are only
advisory, as well as the provisions of Title 18, United States Code, section 3553(a).
Defendant nonetheless acknowledges and agrees that the Court has authority to

impose any sentence up to and including the statutory maximum set for the

6
Case 4:22-cr-00397 Document 38 Filed on 05/11/23 in TXSD Page 7 of 17

offense(s) to which Defendant pleads guilty, and that the sentence to be imposed is
within the sole discretion of the sentencing judge after the Court has consulted the
applicable Sentencing Guidelines. Defendant understands and agrees that the
parties’ positions regarding the application of the Sentencing Guidelines do not bind
the Court and that the sentence imposed is within the discretion of the sentencing
judge. Ifthe Court should impose any sentence up to the maximum established by
statute, or should the Court order any or all of the sentences imposed to run
consecutively, Defendant cannot, for that reason alone, withdraw a guilty plea, and
will remain bound to fulfill all of the obligations under this plea agreement.
Rights at Trial

12. Defendant understands that by entering into this agreement, she
surrenders certain rights as provided in this plea agreement. Defendant understands
that the rights of a defendant include the following:

(a) If Defendant persisted in a plea of not guilty to the charges,

defendant would have the right to a speedy jury trial with the assistance

of counsel. The trial may be conducted by a judge sitting without a

jury if Defendant, the United States, and the court all agree.

(b) At a trial, the United States would be required to present

witnesses and other evidence against Defendant. Defendant would

have the opportunity to confront those witnesses and her attorney would

be allowed to cross-examine them. In turn, Defendant could, but

would not be required to, present witnesses and other evidence on her
own behalf. If the witnesses for Defendant would not appear
Case 4:22-cr-00397 Document 38 Filed on 05/11/23 in TXSD Page 8 of 17

voluntarily, she could require their attendance through the subpoena
power of the court; and

(c) At a trial, Defendant could rely on a privilege against self-

incrimination and decline to testify, and no inference of guilt could be

drawn from such refusal to testify. However, if Defendant desired to

do so, she could testify on her own behalf.

Factual Basis for Guilty Plea

13. Defendant is pleading guilty because she is in fact guilty of the charge
contained in Count One of the indictment. If this case were to proceed to trial, the
United States could prove each element of the offense beyond a reasonable doubt.
The following facts, among others would be offered to establish Defendant’s guilt:

On July 23, 2022, the private residence of the Consul General for Britain was
burglarized and multiple items including two vehicles were stolen. In addition, the
residence and items from the residence were stolen and damaged. One vehicle, a
2018 white Jaguar, was the property of the British Consulate, the other a 2022
Mitsubishi Outlander was a private vehicle owned by the Consul General. Both
sustained damage from the thefts. Items stolen from the property included but were
not limited to a medium size black safe, several high-end watches, jewelry, a large
flat screen television, and a quantity of alcohol.

That same day, agents located the Consul General’s two stolen vehicles at

2809 Bertrand Street, in Harris County, Texas. The stolen vehicles from the Consul
Case 4:22-cr-00397 Document 38 Filed on 05/11/23 in TXSD Page 9 of 17

General were parked in the driveway with their front bumpers pulled into the
driveway. Initially, agents observed Defendant Christin Brinkley inside the white
Jaguar. Upon a subsequent drive by, Defendant Brinkley was observed inside the
Mitsubishi Outlander.

Investigators arrived on scene and began interviewing the subjects and
processing the scene. Co-Defendant Damion Woods and Defendant Brinkley were
arrested on-scene by the Harris County Sheriffs Office. Defendant Brinkley was
arrested for felonious unauthorized use of a motor vehicle, and Co-Defendant
Damion Woods was arrested for fleeing. Both vehicles contained stolen property,
including but not limited to a large flat screen tv, British passports belonging to the
Consul General and his family, and large amounts of alcohol stolen from the
residence. A medium sized black safe from the residence was heavily damaged and
located in front of a white travel trailer. The safe had been broken into and
miscellaneous documents from the Consul General were found near the safe.
Following the completion of the investigation at 2813 Bertrand Street, the vehicles
and recovered property were returned to the Consul General's residence and turned
over to a representative from the British government.

On July 25, 2022 a DVR for the security cameras was located on the property.

The recording from the DVR shows a white U-Haul van pulling up to the gate of the
Case 4:22-cr-00397 Document 38 Filed on 05/11/23 in TXSD Page 10 of 17

residence and Defendant Brinkley jumping over the fence. After a lengthy period,
Co-Defendant Woods is seen entering the fence and carrying stolen items back to
the white U-Haul. Later in the video, Co-Defendant Woods is seen driving the
white U-Haul through and damaging the black security gate. Damages caused by
the defendants, including damages to the residence, vehicles, a safe, and other items
were calculated at approximately $56,636.15.
Breach of Plea Agreement

14. If Defendant should fail in any way to fulfill completely all of the
obligations under this plea agreement, the United States will be released from its
obligations under the plea agreement, and Defendant’s plea and sentence will stand.
If at any time Defendant retains, conceals, or disposes of assets in violation of this
plea agreement, or if Defendant knowingly withholds evidence or is otherwise not
completely truthful with the United States, then the United States may move the
Court to set aside the guilty plea and reinstate prosecution. Any information and
documents that have been disclosed by Defendant, whether prior to or subsequent to
this plea agreement, and all leads derived therefrom, will be used against defendant

in any prosecution.

10
Case 4:22-cr-00397 Document 38 Filed on 05/11/23 in TXSD Page 11 of 17

Restitution, Forfeiture, and Fines — Generally

15. This Plea Agreement is being entered into by the United States on the
basis of Defendant’s express representation that she will make a full and complete
disclosure of all assets over which she exercises direct or indirect control, or in which
she has any financial interest. Defendant agrees not to dispose of any assets or take
any action that would effect a transfer of property in which she has an interest, unless
Defendant obtains the prior written permission of the United States.

16. Defendant agrees to make complete financial disclosure by truthfully
executing a sworn financial statement (Form OBD-500 or similar form) within 14
days of signing this plea agreement. Defendant agrees to authorize the release of
all financial information requested by the United States, including, but not limited
to, executing authorization forms permitting the United States to obtain tax
information, bank account records, credit histories, and social security information.
Defendant agrees to discuss and answer any questions by the United States relating
to Defendant’s complete financial disclosure.

17. Defendant agrees to take all steps necessary to pass clear title to
forfeitable assets to the United States and to assist fully in the collection of restitution
and fines, including, but not limited to, surrendering title, executing a warranty deed,

signing a consent decree, stipulating to facts regarding the transfer of title and the

1]
Case 4:22-cr-00397 Document 38 Filed on 05/11/23 in TXSD Page 12 of 17

basis for the forfeiture, and signing any other documents necessary to effectuate such
transfer. Defendant also agrees to direct any banks which have custody of her assets
to deliver all funds and records of such assets to the United States.

18. Defendant understands that forfeiture, restitution, and fines are separate
components of sentencing and are separate obligations.

19. Defendant agrees to pay full restitution to the victim(s). Defendant
stipulates and agrees that as a result of her criminal conduct, the victim(s) incurred
a monetary loss of at least $56,636.15. Defendant understands and agrees that the
Court will determine the amount of restitution to fully compensate the victim(s).
Defendant agrees that restitution imposed by the Court will be due and payable
immediately and that Defendant will not attempt to avoid or delay payment. Subject
to the provisions of paragraph 5 above, Defendant waives the right to challenge in
any manner, including by direct appeal or in a collateral proceeding, the restitution
order imposed by the Court.

Forfeiture

20. Defendant agrees to forfeit all property that constitutes, or is derived
from, or is traceable to the proceeds obtained directly or indirectly from the
commission of the offense charged in Count One of the Indictment, all conveyances

used in the commission of the offense, and all property that was used to facilitate, or

12
Case 4:22-cr-00397 Document 38 Filed on 05/11/23 in TXSD Page 13 of 17

was intended to be used to facilitate, the commission of the offense charged in Count
One of the Indictment.

21. Defendant agrees to waive any and all interest in any asset which is the
subject of a related administrative or judicial forfeiture proceeding, whether criminal
or civil, federal or state.

22. Defendant consents to the order of forfeiture becoming final as to
Defendant immediately following this guilty plea, pursuant to Federal Rule of
Criminal Procedure 32.2(b)(4)(A).

23. Subject to the provisions of paragraph 5 above, Defendant waives the
right to challenge the forfeiture of property in any manner, including by direct appeal
or in a collateral proceeding.

Fines

24. Defendant understands that under the Sentencing Guidelines the Court is
permitted to order Defendant to pay a fine that is sufficient to reimburse the
government for the costs of any imprisonment or term of supervised release, if any.
Defendant agrees that any fine imposed by the Court will be due and payable
immediately, and Defendant will not attempt to avoid or delay payment. Subject to
the provisions of paragraph 5 above, Defendant waives the right to challenge the fine

in any manner, including by direct appeal or in a collateral proceeding.

13
Case 4:22-cr-00397 Document 38 Filed on 05/11/23 in TXSD Page 14 of 17

Complete Agreement
25. This written plea agreement, consisting of 17 pages, including the
attached addendum of Defendant and her attorney, constitutes the complete plea
agreement between the United States, Defendant, and Defendant’s counsel. No
promises or representations have been made by the United States except as set forth
in writing in this plea agreement. Defendant acknowledges that no threats have
been made against her and that she is pleading guilty freely and voluntarily because

he is guilty.

REMAINDER OF PAGE INTENTIONALLY LEFT BLANK

14
Case 4:22-cr-00397 Document 38 Filed on 05/11/23 in TXSD Page 15 of 17

26. Any modification of this plea agreement must be in writing and signed

by all parties.
Filed at , Texas, on ,
20 |
f On victis Bava Kleg.
Defendant
Subscribed and sworn to before me on , 2023.
NATHAN OCHSNER, Clerk
UNITED STATES DISTRICT CLERK
By:
Deputy United States District Clerk
APPROVED:

ALAMDAR S. HAMDANI
United States Attorney

Richard W. Bennett Robert A fies , Esq.

Luis Batarse Attorney’for Defendant
Assistant United States Attorneys

Southern District of Texas

Telephone: 713-567-9000

15
Case 4:22-cr-00397 Document 38 Filed on 05/11/23 in TXSD Page 16 of 17

I have consulted with my attorney and fully understand all my rights with
respect to the indictment pending against me. My attorney has fully explained, and
I understand, all my rights with respect to the provisions of the United States
Sentencing Commission’s Guidelines Manual which may apply in my case. I have
read and carefully reviewed every part of this plea agreement with my attorney. I

understand this agreement and I voluntarily agree to its terms.

L C byristin O ren KAU», oO BI Je oS
Christin Danielle Brinkley Date 7 /
Defendant

V7
Case 4:22-cr-00397. Document 38 Filed on 05/11/23 in TXSD Page 17 of 17

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA §

Vv. CRIMINAL NO. 4:22-CR-397

CHRISTIN DANIELLE

BRINKLEY,
Defendant.

OM MH Mt

PLEA AGREEMENT -- ADDENDUM

I have fully explained to Defendant her rights with respect to the pending
indictment. I have reviewed the provisions of the United States Sentencing
Commission’s Guidelines Manual and Policy Statements and I have fully and
carefully explained to Defendant the provisions of those Guidelines which may
apply in this case. I have also explained to Defendant that the Sentencing
Guidelines are only advisory and the court may sentence Defendant up to the
maximum allowed by statute per count of conviction. Further, I have carefully
reviewed every part of this plea agreement with Defendant. To my knowledge,

Defendant’s decision to enter into this agreement is an informed and voluntary one.

Robert Jones, Esq. Date /
Attorney for Defendant

16
